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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                          September 12, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                                     Chapter 11
In re:

NOBLE HOUSE HOME FURNISHINGS, LLC,1                                  Case No. 23-90773 (CML)

                                   Debtors.                          (Jointly Administered)



ORDER (I) AUTHORIZING THE PAYMENT OF SHIPPERS AND WAREHOUSEMAN,
                 AND (II) GRANTING RELATED RELIEF
                          (Related Docket No. 12)

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), authorizing the

Debtors to (a) authorizing the payment of the certain claims held by shippers and warehouseman

in the ordinary course of business on a postpetition basis, and (b) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C.§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is

in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the


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    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    numbers, are: Noble House Home Furnishings LLC (1671); Best Selling Home Decor Furniture, LLC (5580),
    Le Pouf, LLC (8197), NH Services LLC (9626), and Heavy Metal, Inc. (3124). The Debtors’ service address in
    these Chapter 11 cases is 700 Milam Street, Suite 1300, Houston, TX 77002.
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    A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.


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Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.        The Motion is hereby GRANTED, as modified by this Order.

        2.        The Debtors are authorized in their reasonable discretion to pay prepetition S&W

Claims in the ordinary course and prepetition business practices; provided, that such payments

shall not exceed the aggregate amount of $10 million.

        3.        Any party that accepts payment from the Debtors on account of an S&W Claim

shall be deemed to have agreed to the terms and provisions of this Order.

        4.        The Debtors shall maintain a matrix or schedule of any prepetition amounts paid

to the S&W Claimants subject to the terms and conditions of this Order, including the following

information: (a) the name of the S&W Claimant paid; (b) the amount of the payment to such

S&W Claimant; (c) the total amount paid to the S&W Claimant to date; the category of S&W

Claimant, as further described and classified in the Motion; the Debtor or Debtors that made the

payment; (f) the payment date; and (g) the purpose of such payment. The Debtors shall provide a

copy of such matrix to the U.S. Trustee, counsel to the proposed DIP Agent, and any statutory

committee appointed in these chapter 11 cases every 30 days beginning upon entry of this Order.

        5.        Nothing herein shall impair or prejudice the rights of the U.S. Trustee and any

statutory committee appointed in these chapter 11 cases, which are expressly reserved, to object



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to any payment to a S&W Claimant that is an insider (as such term is defined in section 101(31)

of the Bankruptcy Code) or an affiliate of an insider of the Debtors. To the extent the Debtors

intend to make a payment to a S&W Claimant that is an insider or an affiliate of an insider of the

Debtors, the Debtors shall, to the extent reasonably practicable, provide the U.S. Trustee and any

statutory committee appointed in these chapter 11 cases five (5) business days’ advance written

notice and the opportunity to object to such payment; provided that if any party timely objects to

the payment prior to the Debtors remitting such payment, the Debtors shall not make such

payment without further order of the Court.

        6.        The Debtors are authorized to require that, as a condition to receiving any

payment under this Order, a payee maintain or apply, as applicable, terms during the pendency of

these chapter 11 cases that are at least as favorable as those terms existing as of the Petition Date

or Customary Terms. If a payee, after receiving a payment under this Order, ceases to provide

Customary Terms, then the Debtors may, in the reasonable exercise of their business judgment

and after consulting with the proposed DIP Agent, deem such payment to apply instead to any

postpetition amount that may be owing to such payee or treat such payment as an avoidable

postpetition transfer of property.

        7.        If any party accepts payment on behalf of a S&W Claim under this Order, and

such S&W Claim is determined by the Court after notice and hearing, to not give rise to a

statutory, contractual or possessory lien, the Debtors are authorized to avoid such payment as a

postpetition transfer under section 549 of the Bankruptcy Code, and the S&W Claimant who had

accepted such payment shall be required to immediately repay to the Debtors any payment made

to it on account of its asserted S&W Claim to the extent the aggregate amount of such payments

exceed the postpetition obligations then outstanding, without the right of any setoffs, claims,



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provision for payment of reclamation or trust fund claims or otherwise. Upon recovery of such

payments by the Debtors, the obligation shall be reinstated as a prepetition claim in the amount

so recovered.

         8.       The Debtors shall undertake appropriate efforts to cause each S&W Claimant to

enter into an agreement with the Debtors substantially in the form attached as Exhibit A hereto

(each such agreement, a “Trade Agreement”). The Debtors are authorized, but not directed, to

enter into Trade Agreements, only when the Debtors determine, in the exercise of their

reasonable business judgment, that it is appropriate to do so. The Debtors may, in their

reasonable business judgement, negotiate, amend, or modify the form of Trade Agreement and

decline to condition payment of S&W Claim upon the execution of a Trade Agreement.

         9.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as approved by this

Order.

         10.      Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order or the Motion shall be deemed: (a) an admission as to the validity of

any prepetition claim, interest, or lien against a Debtor entity; (b) a waiver of the Debtors’ or any

other party in interest’s rights to dispute any prepetition claim, interest, or lien on any grounds;

(c) a promise or requirement to pay prepetition claims; (d) an implication or admission that any

particular claim, interest, or lien is of a type specified or defined in this Order or the Motion; (e)

a request or authorization to assume any prepetition agreement, contract, or lease pursuant to



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section 365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ rights under the Bankruptcy

Code or any other applicable law.

        11.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in

connection with the relief granted herein.

        12.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim, interest, or lien against a Debtor entity; (b) a waiver of the Debtors’ or any

other party in interest’s rights to dispute any prepetition claim, interest, or lien on any grounds;

(c) a promise or requirement to pay prepetition claims; (d) a waiver of the obligation of any party

in interest to file a proof of claim; (e) an implication or admission that any particular claim,

interest, or lien is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion; (f) a request or authorization to assume any prepetition agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; or (g) a waiver of the Debtors’

or any other party in interest’s rights under the Bankruptcy Code or any other applicable law.

        13.       Notwithstanding anything to the contrary set forth herein, (a) any payment to be

made, or authorization contained, hereunder shall be subject to the requirements imposed on the

Debtors under the Debtors’ postpetition financing agreements (the “DIP Documents”) and any

orders approving the DIP Documents and governing the Debtors’ use of cash collateral

(including with respect to any budgets governing or relating thereto) and (b) to the extent there is

any inconsistency between the terms of such orders approving the DIP Documents or the




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Debtors’ use of cash collateral and any action taken or proposed to be taken hereunder, the terms

of such orders approving the DIP Documents and use of cash collateral shall control.

        14.       Notwithstanding anything to the contrary herein, prior to making any payment

pursuant to this Order to a S&W Claimant, the Debtors shall provide such S&W Claimant with a

copy of this Order (unless previously provided to such S&W Claimant).

        15.       Nothing herein shall impair or prejudice the Debtors’ ability to contest the extent,

perfection, priority, validity, or amounts of any claims held by any S&W Claimant.

        16.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        17.       Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy

Local Rules are satisfied by such notice.

        18.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        19.       The Debtors are authorized to take all actions necessary or appropriate to

effectuate the relief granted in this Order in accordance with the Motion.

        20.       This Court retains exclusive jurisdiction and power with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.


Dated: __________, 2023
           August 02,
           September  2019
                     12, 2023                   UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit A


                            (Form of Trade Agreement)




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          THIS TRADE AGREEMENT IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION
    OF A CHAPTER 11 PLAN. ACCEPTANCE OR REJECTION OF A CHAPTER 11 PLAN MAY NOT BE
    SOLICITED UNTIL A DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
    COURT FOR ANY SUCH CHAPTER 11 PLAN. THE INFORMATION IN THIS TRADE AGREEMENT
    IS SUBJECT TO CHANGE. THIS TRADE AGREEMENT IS NOT AN OFFER TO SELL ANY
    SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.


                                            TRADE AGREEMENT

        Noble House Home Furnishings, LLC (the “Company”), on the one hand, and the vendor
identified in the signature block below (the “Vendor”), on the other hand, hereby enter into the
following trade agreement (this “Trade Agreement”) dated as of the date in the Vendor’s
signature block below.
                                                      Recitals

         WHEREAS on September 11, 2023 (the “Petition Date”), the Company and certain
affiliated entities (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11
of the United States Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the
United States Bankruptcy Court for the Southern District of Texas (the “Court”).

        WHEREAS on [DATE], the Court entered the Order (I) Authorizing the Payment of
Shippers and Warehouseman, and (II) Granting Related Relief (the “Order”) [Docket No. [●]]
authorizing the Debtors, under certain conditions, to pay the prepetition claims of certain shippers
and warehouseman, including the Vendor, subject to the terms and conditions more fully set forth
therein.1

       WHEREAS prior to the Petition Date, the Vendor delivered goods to or on behalf of the
Company and/or performed services for the Company, and the Company paid the Vendor for
such goods and/or services, according to Customary Trade Terms (as defined herein).

       WHEREAS the Company and the Vendor (each a “Party,” and collectively, the “Parties”)
agree to the following terms as a condition of payment on account of certain prepetition claims
the Vendor may hold against the Company.

                                                    Agreement

        1.        Recitals. The foregoing recitals are incorporated herein by reference as if set
forth at length herein.

       2.        Vendor Payment. The Vendor represents and agrees that, after due investigation,
the sum of all amounts currently due and owing by the Company to the Vendor as of the Petition
Date is $[●] (the “Agreed Vendor Claim”). Following execution of this Trade Agreement, the
Company shall, in full and final satisfaction of the Agreed Vendor Claim, pay Vendor $[●] on
account of its prepetition claim (the “Vendor Payment”) (without interest, penalties, or other

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     Capitalized terms used but not defined herein shall have the meanings set forth in the Order.


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charges), as such invoices become due and payable pursuant to the Customary Trade Terms (as
defined below).

             3.     Agreement to Supply.

                a.       The Vendor shall deliver goods to or on behalf of the Company and/or
perform services for the Company (to the extent the Company seeks such goods and/or services),
and the Company shall accept the performance of the Vendor for the duration of the Debtors’
chapter 11 cases based on the following terms (the “Customary Trade Terms”): those trade terms
at least as favorable to the Company as those practices and programs (including credit limits,
pricing, cash discounts, timing of payments, allowances (as may be incorporated or contemplated
by any agreements between the Parties or based on historic practice, as applicable), availability,
and other programs) in place in the 180 days prior to the Petition Date except for any partial
payments or other payments (or assurances) the Company made. “Duration of the Debtors’
chapter 11 cases” means the earlier of: (i) the effective date of a chapter 11 plan in the
Company’s chapter 11 cases; (ii) the closing of a sale of all or a material portion of the
Company’s assets pursuant to section 363 of the Bankruptcy Code resulting in a cessation of the
Company’s business operations; and (iii) the liquidation of the Company or conversion of the
Debtors’ chapter 11 cases to cases under chapter 7 of the Bankruptcy Code.

               b.       The Vendor shall continue to honor any existing allowances, credits,
contractual obligations, or balances that were accrued as of the Petition Date and shall apply all
such allowances, credits, or balances towards future orders in the ordinary course of business.

                c.      The Vendor shall continue all shipments of goods and/or provision of
services in the ordinary course and shall fill orders requested by the Company (to the extent the
Company seeks such orders) in the ordinary course of business pursuant to the Customary Trade
Terms.

              d.        The Customary Trade Terms may not be modified, adjusted, or reduced
in a manner adverse to the Company except as agreed to in writing by the Parties.

        4.        Other Matters.

                a.      The Vendor agrees that it shall not require a lump-sum payment upon the
effective date of a plan in the Company’s chapter 11 cases on account of any outstanding
administrative claims the Vendor may assert arising from the delivery of postpetition services, to
the extent that payment of such claims is not yet due. The Vendor agrees that such claims will be
paid in the ordinary course of business after confirmation of a plan pursuant to the Customary
Trade Terms then in effect.

                b.      The Vendor will not separately seek payment from the Company on
account of any prepetition claim (including, without limitation, any reclamation claim or any claim
pursuant to section 503(b)(9) of the Bankruptcy Code) outside the terms of this Trade Agreement
or a plan confirmed in the Company’s chapter 11 case.

                c.      The Vendor will not file or otherwise assert against the Company, its
assets, or any other person or entity or any of their respective assets or property (real or personal)

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any lien, regardless of the statute or other legal authority upon which the lien is asserted, related
in any way to any remaining prepetition amounts allegedly owed to the Vendor by the Company
arising from prepetition agreements or transactions. Furthermore, if the Vendor has taken steps to
file or assert such a lien prior to entering into this Trade Agreement, the Vendor will promptly
take all necessary actions to remove such liens.

        5.        Supplier Breach.

              a.      In the event that the Supplier fails to satisfy its obligations arising under
this Trade Agreement (a “Vendor Breach”), upon written notice to the Vendor, the Vendor shall
promptly pay to the Company immediately available funds in an amount equal to, at the election
of the Company, the Vendor Payment or any portion of the Vendor Payment which cannot be
recovered by the Company from the postpetition receivables then owing to the Vendor from the
Company.

                b.        In the event that the Company recovers some or all of the Vendor Payment
pursuant to section 5(a) hereof or otherwise, the applicable portion of the Agreed Vendor Claim
shall be reinstated as if the Vendor Payment had not been made.

                c.        The Vendor agrees and acknowledges that irreparable damage would occur
in the event of a Vendor Breach and remedies at law would not be adequate to compensate the
Company. Accordingly, the Vendor agrees that the Company shall have the right, in addition to
any other rights and remedies existing in its favor, to an injunction or injunctions to prevent
breaches of the provisions of this Trade Agreement and to enforce its rights and obligations
hereunder not only by an action or actions for damages but also by an action or actions for specific
performance, injunctive relief and/or other equitable relief. The right to equitable relief, including
specific performance or injunctive relief, shall exist notwithstanding, and shall not be limited by,
any other provision of this Trade Agreement. The Vendor hereby waives any defense that a
remedy at law is adequate and any requirement to post bond or other security in connection with
actions instituted for injunctive relief, specific performance, or other equitable remedies.

         6.       Notice.

                  If to the Vendor, then to the person and address identified in the signature
                  block hereto.


                  If to Company, then notice must be made to the persons identified below at the
                  address and email address identified:


                  Noble House Home Furnishings, LLC
                  [●]
                  [●]

                  If to Counsel


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                  Pachulski Stang Ziehl & Jones LLP
                  440 Louisiana Street, Suite 900
                  Houston, TX 77002
                  Attn: Teddy M. Kapur (tkapur@pszjlaw.com); Gregory V. Demo
                  (gdemo@pszjlaw.com); and Benjamin L. Wallen (bwallen@pszjlaw.com).

       7.       Representations and Acknowledgements. The Parties agree, acknowledge, and
represent that:

               a.        the Parties have reviewed the terms and provisions of the Order and this
Trade Agreement and consent to be bound by such terms and that this Trade Agreement is
expressly subject to the procedures approved pursuant to the Order;

                b.      any payments made on account of the Agreed Vendor Claim shall be
subject to the terms and conditions of the Order;

                c.      if the Vendor refuses to perform as requested by the Company as
provided herein or otherwise fails to perform any of its obligations hereunder, the Company may
exercise all rights and remedies available under the Order, the Bankruptcy Code, or applicable
law; and

               d.      in the event of disagreement between the Parties regarding whether a
breach has occurred, either Party may apply to the Court for a determination of their relative
rights, in which event, no action may be taken by either Party until a ruling of the Court is
obtained.

        8.       Confidentiality. In addition to any other obligations of confidentiality between
Vendor and Company, the Vendor agrees to hold in confidence and not disclose to any party: (a)
this Trade Agreement; (b) any and all payments made by the Company pursuant to this Trade
Agreement; (c) the terms of payment set forth herein; and (d) the Customary Trade Terms
(collectively, the “Confidential Information”); provided, that, if any party seeks to compel the
Vendor’s disclosure of any or all of the Confidential Information, through judicial action or
otherwise, or the Vendor intends to disclose any or all of the Confidential Information, the
Vendor shall immediately provide the Company with prompt written notice so that the Company
may seek an injunction, protective order, or any other available remedy to prevent such disclosure;
provided, further, that, if such remedy is not obtained, the Vendor shall furnish only such
information as the Vendor is legally required to provide.

         9.       Miscellaneous.

                a.        The Parties hereby represent and warrant that: (i) they have full authority
to execute this Trade Agreement on behalf of the respective Parties; (ii) the respective Parties have
full knowledge of, and have consented to, this Trade Agreement; and (iii) they are fully authorized
to bind that Party to all of the terms and conditions of this Trade Agreement.

               b.      This Trade Agreement sets forth the entire understanding of the Parties
regarding the subject matter hereof and supersedes all prior oral or written agreements between

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them. This Trade Agreement may not be changed, modified, amended, or supplemented, except
in a writing signed by both Parties. Moreover, the Vendor agrees to vote all claims now or
hereafter beneficially owned by the Vendor in favor of, and not take any direct or indirect action
to oppose or impede confirmation of, any chapter 11 plan on a timely basis in accordance with the
applicable procedures set forth in any related disclosure statement and accompanying solicitation
materials, and timely return a duly-executed ballot to the Debtors in connection therewith, if such
chapter 11 plan provides for a treatment of any Agreed Vendor Claim that is materially consistent
with this Trade Agreement.

                c.      Signatures by facsimile or electronic signatures shall count as original
signatures for all purposes.

              d.       This Trade Agreement may be executed in counterparts, each of which
shall be deemed to be an original, but all of which shall constitute one and the same agreement.

               e.      The Parties hereby submit to the exclusive jurisdiction of the Court to
resolve any dispute with respect to or arising from this Trade Agreement.

                f.      This Trade Agreement shall be deemed to have been drafted jointly by
the Parties, and any uncertainty or omission shall not be construed as an attribution of drafting by
any Party.



                                     [Signature Page Follows]




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  AGREED AND ACCEPTED AS OF THE DATE SET FORTH ABOVE:

  NOBLE HOUSE HOME                          [VENDOR]
  FURNISHINGS LLC



  By:                                       By:
  Title:                                    Title:
                                            Address:

                                            Date:




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